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 1   Greg D. Andres
     Antonio J. Perez-Marques
 2   Gina Cora
 3   Craig T. Cagney
     Luca Marzorati
 4     (admitted pro hac vice)
     DAVIS POLK & WARDWELL LLP
 5   450 Lexington Avenue
     New York, New York 10017
 6
     Telephone: (212) 450-4000
 7   Facsimile: (212) 701-5800
     Email: greg.andres@davispolk.com
 8            antonio.perez@davispolk.com
              gina.cora@davispolk.com
 9            craig.cagney@davispolk.com
              luca.marzorati@davispolk.com
10

11   Micah G. Block (SBN 270712)
     DAVIS POLK & WARDWELL LLP
12   900 Middlefield Road, Suite 200
     Redwood City, California 94063
13   Telephone: (650) 752-2000
     Facsimile: (650) 752-2111
14
     Email: micah.block@davispolk.com
15
     Attorneys for Plaintiffs
16   WhatsApp LLC and Meta Platforms, Inc.
17                              UNITED STATES DISTRICT COURT
18
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
19
                                       OAKLAND DIVISION
20
                                        )          Case No. 4:19-cv-07123-PJH
21    WHATSAPP LLC and                  )
22    META PLATFORMS, INC.,             )          DECLARATION OF MICAH G. BLOCK
                                        )          IN SUPPORT OF PLANTIFFS’
23                    Plaintiffs,       )          MOTIONS IN LIMINE
                                        )
24           v.                         )          Pretrial Conference Date: April 10, 2025
                                        )          Time: 2 p.m.
25    NSO GROUP TECHNOLOGIES LIMITED )             Ctrm: 3
26    and Q CYBER TECHNOLOGIES LIMITED, )          Judge: Hon. Phyllis J. Hamilton
                                        )          Trial Date: April 28, 2025
27                    Defendants.       )
                                        )
28                                      )
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 1          I, Micah G. Block, declare as follows:

 2          1.      I am an attorney licensed to practice law in the state of California and am admitted to

 3   practice before this Court. I am a partner with the law firm of Davis Polk & Wardwell LLP, counsel

 4   for Plaintiffs WhatsApp LLC and Meta Platforms, Inc. in the above-captioned matter. I submit this

 5   declaration in support of Plaintiffs’ Motions in Limine. I have personal knowledge of the facts set

 6   forth below, and I could and would competently testify to the following if called upon to do so.

 7          2.      Attached hereto as Exhibit 1 is a true and correct excerpt of Defendants’ Responses

 8   and Objections to Plaintiffs’ Fifth Requests for Production, dated May 20, 2024.

 9          3.      Attached hereto as Exhibit 2 is a true and correct excerpt of the deposition transcript

10   of Yaron Shohat, taken in this case on August 29, 2024.

11          4.      Attached hereto as Exhibit 3 is a true and correct excerpt of the deposition transcript

12   of Ramon Eshkar, taken in this case on August 27, 2024.

13          5.      Attached hereto as Exhibit 4 is a true and correct excerpt of the deposition transcript

14   of Sarit Bizinsky Gil, taken in this case on September 6, 2024.

15          6.      Attached hereto as Exhibit 5 is a true and correct copy of the expert Report of Joshua

16   J. Minkler, dated December 18, 2024.

17          7.      Attached hereto as Exhibit 6 is a true and correct excerpt of the deposition transcript

18   of Joshua J. Minkler, taken in this case on February 11, 2025.

19          8.      Attached hereto as Exhibit 7 is a true and correct excerpt of a document titled

20   “Transparency and Responsibility Report 2021,” which was marked as Exhibit 2028 at the deposition

21   of Yaron Shohat on August 29, 2024.

22          9.      Attached hereto as Exhibit 8 is a true and correct excerpt of the deposition transcript

23   of Carl Woog, taken in this case on August 14, 2024.

24          10.     Attached hereto as Exhibit 9 is a true and correct copy of the expert Report of Col. Ty

25   M. Shepard (Ret.), dated August 30, 2024.

26          11.     Attached hereto as Exhibit 10 is a true and correct excerpt of the expert Report of

27   Terrence McGraw, dated August 30, 2024.

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     DECLARATION OF MICAH G. BLOCK IN SUPPORT OF PLAINTIFFS’ MOTIONS IN LIMINE - CASE NO. 4:19-CV-07123-PJH
      Case 4:19-cv-07123-PJH           Document 593-1         Filed 03/13/25      Page 3 of 3




 1          12.     Attached hereto as Exhibit 11 is a true and correct excerpt of the deposition transcript

 2   of Terrence McGraw, taken in this case on December 16, 2024.

 3          13.     Attached hereto as Exhibit 12 is a true and correct excerpt of the deposition transcript

 4   of Col. Ty M. Shepard (Ret.), taken in this case on November 21, 2024.

 5          14.     Attached hereto as Exhibit 13 is a true and correct excerpt of the deposition transcript

 6   of Susan Glick, taken in this case on September 9, 2024.

 7          15.     Attached hereto as Exhibit 14 is a true and correct excerpt of Defendants’ Fourth Set

 8   of Requests for Production, dated April 22, 2024.

 9          16.     Attached hereto as Exhibit 15 is a true and correct excerpt of the expert Rebuttal

10   Report of Terrence McGraw, dated September 21, 2024.

11          I declare under the penalty of perjury that the foregoing is true and correct.

12          Executed this 13th day of March, 2025 in Redwood City, California.

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                                                 By: /s/ Micah G. Block
14                                                   Micah G. Block
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     DECLARATION OF MICAH G. BLOCK IN SUPPORT OF PLAINTIFFS’ MOTIONS IN LIMINE - CASE NO. 4:19-CV-07123-PJH
